915 F.2d 1565Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leon Linwood SMITH, Jr., Plaintiff-Appellant,v.RICHMOND CITY JAIL, Andrew J. Winston, Medical College ofVirginia, Gerald Baliles, Commonwealth ofVirginia, Defendants-Appellees.
    No. 90-6101.
    United States Court of Appeals,Fourth Circuit.
    Submitted Sept. 10, 1990.Decided Oct. 12, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  James C. Cacheris, District Judge.  (CA-89-855-AM)
      Leon Linwood Smith, Jr., appellant pro se.
      John Adrian Gibney, Jr., Shuford, Rubin, Gibney &amp; Dunn, Edward Meade Macon, McGuire, Woods, Battle &amp; Booth, William W. Muse, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before PHILLIPS and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Leon Linwood Smith, Jr. appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Smith v. Richmond City Jail, CA-89-855-AM (E.D.Va. June 14, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    